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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                            Criminal No. 14-CR-66(2) (RHK/JSM)

UNITED STATES OF AMERICA,

                        Plaintiff,                        OPINION       MEMORANDUM
                                                          AND ORDER ON MOTION
                                                          MADE PURSUANT TO 18
                                                          U.S.C. §§ 3582(c)(2) and 3563(b)
APRIL FAY LEWIS,

                        Defendant.

          This matter is before the Court on Defendant’s August 21, 2015, Motion for

Modification or Reduction of Sentence Under 18 U.S.C. §§ 3582 (c)(2) and 3563(b).

(ECF No. 233). Defendant’s motion will be DENIED, for the reasons discussed below.

I.        RELEVANT PROCEDURAL AND FACTUAL HISTORY

          On March 3, 2014, Defendant April Fay Lewis (“defendant” or “Lewis”) was

named in a twelve-count Indictment charging her with various crimes related to a drug

trafficking organization’s conspiracy to distribute methamphetamine. (DCD No. 1,

Indictment). 1 Pursuant to a plea agreement, on June 2, 2014, Defendant appeared with

her counsel and pled guilty to Count One of the Indictment. That count of conviction

charged her with conspiracy to distribute a mixture and substance containing a detectable

amount of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and

846. DCD 117. In consideration for her plea, the Government agreed not to charge her




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with additional and more significant drug conspiracy allegations. 2 Id. at ¶ 1. Defendant

acknowledged that, according to the Advisory Guidelines, she faced up to 188 months

imprisonment, as well as a term of at least one but no more than three years

imprisonment. Id. at ¶ 6. She also understood that if she were to violate any condition of

supervised release, she could be sentenced to an additional term of imprisonment up to

the length of the original supervised release term, subject to the statutory maximums set

forth in 18 U.S.C. § 3583. Id. at ¶ 5. The parties acknowledged the Court would

consider the United States Sentencing Guidelines in determining the appropriate

sentence. Id. at ¶ 6. The court ordered a Presentence Investigation Report (“PSR”) and

Court allowed defendant to remain out of custody on previously-imposed conditions of

release.

       Pretrial services records demonstrated that defendant did not comply with Court-

ordered conditions of release. PSR at ¶ 5. Specifically, following her initial release on

March 27, 2014, defendant was ordered to reside at a halfway house. As described above,

she pleaded guilty in June 2014, and completed the primary portion of treatment and was

participating in aftercare sessions. By July 24, 2014, the release conditions were modified

allowing for her discharge from the halfway house and for her to reside in Winona,

Minnesota. Defendant continued to participate in aftercare counseling sessions and

successfully completed aftercare treatment on August 27, 2014.




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 As a result of this Government concession, Defendant would not face a minimum
mandatory statutory sentence of ten years imprisonment.
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       Defendant used methamphetamine approximately two and a half weeks later. PSR

at ¶ 5. Her supervising officer then placed defendant on a sweat patch. Id. When a sweat

patch was removed October 8, 2014, it tested positive for methamphetamine. Id.

Defendant Lewis denied drug use. Id. A second drug testing sweat patch applied on

October 22, 2014, was unavailable for testing. Id. Defendant appeared on October 29,

2014, to have the sweat patch removed for testing and told staff that it “merely fell off.”

Id.

       By December 19, 2014, defendant appeared before this Court due to these

violations of her pretrial terms. Id. Defendant arrived late, and this Court directed that she

immediately reside at a halfway house. However, defendant absconded during transport

to the facility. Id. She remained a fugitive until she was arrested on February 23, 2015.

Id.

       Meanwhile, the PSR itself was completed. The sentencing guideline range

contained within the PSR differed slightly from that which was contemplated by the plea

agreement because of a greater criminal history categorization than estimated: total

offense level of 31, criminal history category IV, and guideline imprisonment range of

155 to 188 months. PSR ¶ 107. The PSR reported the statutory provisions for supervised

release require that the Court must impose a term of at least 3 years. 21 U.S.C. §

841(b)(1)(B). PSR ¶ 110. The Guideline Provisions specified a term of supervised

release to be no less than that mandated by statute – three years. U.S.S.G. § 5D1.2(c).

PSR ¶ 111.



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       A sentencing hearing was held on June 6, 2015. The Court adopted the PSR

without change. DCD 226. The Court’s determination provided an advisory Guideline

range of:    total offense level 31, criminal history category IV, and a guideline

imprisonment range of 155 to 188 months. Id. After reviewing the parties’ submissions

and hearing argument, the Court sentenced Defendant to 120 months imprisonment and 3

years Supervised Release. DCD 225. Defendant did not file a direct appeal from her

conviction or sentence.

       On August 21, 2015, Defendant filed a Pro Se Motion to Reduce Sentence and

Modify Supervised Release term under § 3582(c)(2) and § 3563(b). DCD 233. The

government responded to defendant’s sentence reduction motion on January 25, 2016. In

summary, the government argued that defendant’s motion should be denied because 1)

defendant failed to demonstrate why the supervised release term of 5 years was

unreasonable, and 2) defendant’s motion, which is tied entirely to considerations of

supervised release, is premature and therefore untimely. The Court agrees that

defendant’s motion should be dismissed.

II.    DISCUSSION
       A. Standard of Review and Legal Framework

       Title 18, United States Code, Section 3583, is the general section instructing

district courts on the considerations of supervised release. The court must order a term of

supervised release if required by statute. 18 U.S.C. § 3583(a). The authorized term of

supervised release for a Class A or Class B felony is not more than five years. 18 U.S.C.

§ 3583(b)(1). Defendant’s offense of conviction, 21 U.S.C. § 841(b)(1)(B) provides:


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       [n]otwithstanding section 3583 of Title 18, any sentence imposed under this
       subparagraph shall, in the absence of such a prior conviction, include a term of
       supervised release of at least 4 years…

Furthermore, “[d]istrict courts have the discretion to impose conditions of supervised

release that ‘(1) [are] reasonably related to the sentencing factors set forth in 18 U.S.C. §

3553(a); (2) involve[ ] no greater deprivation of liberty than is reasonably necessary for

the purposes set forth in § 3553(a); and (3) [are] consistent with any pertinent policy

statements issued by the Sentencing Commission.’” United States v. Romig, Criminal

No. 00-355(1), 2014 WL 1048390, *1 (D. Minn. 2014), quoting United States v. Kelly,

625 F.3d 516, 519 (8th Cir. 2010) (internal quotation marks omitted); see also 18 U.S.C.

§ 3583(d).

       Furthermore, courts have also noted that while a motion to modify a condition of

supervised release under § 3583(e)(2) may be brought at any time prior to the expiration

or termination of the term of supervised release, such motions are not generally ripe for

adjudication until such time as the enforcement of the conditions is imminent. Romig,

Criminal No. 00-355(1), 2014 WL 1048390, *2 (D. Minn. 2014) (citing United States v.

Zimmerman, 481 Fed.Appx. 199, 201 (5th Cir.2012); United States v. Broome, No. 13–

678, 2013 WL 1405947, at *1 (D.Minn. Apr. 8, 2013)).

       B. Defendant’s Supervised Release Claim

       Here, defendant provides no specific information or basis for her claim that this

Court failed to correctly administer a term of supervised release. While she now

maintains she had no notice regarding supervised release, the record demonstrates the

contrary. As described above, even before her guilty plea defendant was made fully

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aware of the circumstances regarding a potential supervised release term, and that such a

term would be “at least 3 years.” DCD 117 at ¶ 4. The PSR reflected those same

circumstances. PSR ¶¶ 88 – 89. Moreover, she did not challenge her supervised release

conditions or term – or any other aspect of her sentence – by direct appeal.

       Defendant’s filing appears to be boilerplate pleading. Tellingly, it is almost

identical to a separate pleading filed by related defendant Julia Rene Ayers. See United

States v. Ayers, 13-CR-241(RHK/TNL) at ECF 59. Moreover, the document spuriously

includes multiple statements which are neither in keeping with the facts of this case

generally, nor in keeping with defendant’s sentencing proceedings specifically.

Defendant’s supervised release term was provided by statute, and the standard and

conditions imposed were reasonably related to the factors identified at 18 U.S.C. §

3553(a), involved no greater deprivation of liberty than reasonably necessary, were

consistent with the policy statements of 3583(d), and were tailored to meet defendant’s

needs, her history, and the needs of the community. Furthermore, defendant’s motion is

premature, as the time for enforcement of her supervised release conditions is not

imminent. Therefore her motion must be denied.




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                                   CONCLUSION

      Based on the foregoing, and all the files, records, and proceedings herein, IT IS

ORDERED that defendant Lewis’ Motion for Modification or Reduction of Sentence

Under 18 U.S.C. §§ 3582(c)(2) and 3563(b) (DCD No. 233) is DENIED.

      LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: February 22, 2016                      s/ Richard H. Kyle
                                              RICHARD H. KYLE
                                              United States District Judge




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